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AO 245D-CAED (Rev. 09/2019) Sheet 1 - Judgment in a Criminal Case for Revocation



                             UNITED STATES DISTRICT COURT
                                                Eastern District of California
               UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
                          v.
               MIKEAL ANTHONY ESTRADA                                         Criminal Number: 2:23CR00246-01
                                                                              Defendant's Attorney: Betty Jean Williams, Appointed
THE DEFENDANT:
       admitted guilt to violation of charges 1 - 5 and 10 as alleged in the superseding violation petition filed on 4/23/2024 .
       was found in violation of condition(s) of supervision as to charge(s)   after denial of guilt, as alleged in the violation petition
       filed on   .

The defendant is adjudicated guilty of these violations:
Violation Number                  Nature of Violation                                                            Date Violation Ended
1                                      Unlawful Use of a Controlled Substance                                    12/27/2023
2                                      Unlawful Use of a Controlled Substance                                    01/15/2024
3                                      Unlawful Use of a Controlled Substance                                    01/05/2024, 01/11/2024
4                                      Failure to Participate in Drug Testing as Directed                        02/05/2024, 02/13/2024
5                                      Failure to Notify of Change in Residence                                  02/08/2024
10                                     New Law Violation                                                         03/29/2024

The court:        revokes:        modifies:        continues under same conditions of supervision heretofore ordered on 9/1/2023 .

       The defendant is sentenced as provided in pages 2 through               of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

       Charges 6 - 9 are dismissed.

        Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        It is ordered that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.
                                                                             6/13/2024
                                                                             Date of Imposition of Sentence




                                                                             Signature of Judicial Officer
                                                                             Troy L. Nunley, United States District Judge
                                                                             Name & Title of Judicial Officer
                                                                             6/14/2024
                                                                             Date
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AO 245B-CAED (Rev. 09/2019) Sheet 2 - Imprisonment
DEFENDANT: MIKEAL ANTHONY ESTRADA                                                                                         Page 2 of 5
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                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
TIME SERVED.

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before       on    .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

      Other, Please Specify:


                                                                 RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                        to
at                                                   , with a certified copy of this judgment.



                                                                        United States Marshal


                                                                        By Deputy United States Marshal
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AO 245B-CAED (Rev. 09/2019) Sheet 3 - Supervised Release
DEFENDANT: MIKEAL ANTHONY ESTRADA                                                                                               Page 3 of 5
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                                                           SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
24 months.

                                                     MANDATORY CONDITIONS
You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two (2) periodic drug tests thereafter, not to exceed four (4) drug tests per month.


      The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
      abuse.

      You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
      restitution.

      You must cooperate in the collection of DNA as directed by the probation officer.

      You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
      reside, work, are a student, or were convicted of a qualifying offense.

      You must participate in an approved program for domestic violence.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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AO 245B-CAED (Rev. 09/2019) Sheet 3 - Supervised Release
DEFENDANT: MIKEAL ANTHONY ESTRADA                                                                                                 Page 4 of 5
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                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
         different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
         and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the court or the probation officer.
4.       You must answer truthfully the questions asked by the probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
         arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
         notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
         from doing so. If you do not have full-time employment, you must try to find full-time employment, unless the probation
         officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
         or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
         probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
         officer within 72 hours of becoming aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
         been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
         permission of the probation officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person, such as
         nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
         without first getting the permission of the court.
12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
         may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
         contact the person and confirm that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of supervision.
                                                     U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature _____________________________                                             Date _________________
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AO 245B-CAED (Rev. 09/2019) Sheet 3 - Supervised Release
DEFENDANT: MIKEAL ANTHONY ESTRADA                                                                                               Page 5 of 5
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                                          SPECIAL CONDITIONS OF SUPERVISION
1.       You must submit your person, property, house, residence, vehicle, papers, computer, other electronic communications or data
         storage devices or media, or office, to a search conducted by a United States probation officer or any law enforcement officer
         at any time, based upon reasonable suspicion of unlawful conduct or a violation of a condition of supervision, without a
         search warrant. Failure to submit to a search may be grounds for revocation. You must warn any other occupants that the
         premises may be subject to searches pursuant to this condition.
2.       You must participate in an outpatient substance abuse/alcohol abuse treatment program and follow the rules and regulations
         of that program. The probation officer, in consultation with the treatment provider, will supervise your participation in the
         program.
3.       You must participate in an inpatient substance abuse/alcohol abuse treatment program and follow the rules and regulations of
         that program, for a period of up to 365 days, and up to 10 additional days for substance abuse detoxification services if
         deemed necessary. The probation officer, in consultation with the treatment provider, will supervise your
         participation in the program.
4.       You must submit to substance abuse/alcohol abuse testing to determine if you have used aprohibited substance. You must not
         attempt to obstruct or tamper with the testing methods.
5.       You must participate in a co-payment plan for treatment, testing and/or medication and shall make payment directly to the
         vendor under contract with the United States Probation Office. Your co-payment will be determined utilizing a Sliding Fee
         Scale based upon your disposable income.
6.       Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
